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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF ARKANSAS
                       BATESVILLE DIVISION

JAMES L. GEORGE                                                     PLAINTIFF

V.                           NO. 1:10CV00038 JTR

MICHAEL J. ASTRUE,                                               DEFENDANT
Commissioner, Social
Security Administration


                                   JUDGMENT

      Pursuant to the Memorandum and Order filed this date, judgment is entered

in favor of Defendant, dismissing this case, with prejudice.

      DATED THIS 29th DAY OF September, 2011.



                                       ___________________________________
                                       UNITED STATES MAGISTRATE JUDGE
